Case 2:19-cv-08481-PSG-PLA   Document 1-2   Filed 09/30/19   Page 1 of 35 Page ID
                                    #:17




                        Exhibit 2




                                                                          Ex. 2
Case 2:19-cv-08481-PSG-PLA   Document 1-2   Filed 09/30/19   Page 2 of 35 Page ID
                                    #:18




                                                                                Ex. 2
Case 2:19-cv-08481-PSG-PLA   Document 1-2   Filed 09/30/19   Page 3 of 35 Page ID
                                    #:19




                                                                                Ex. 2
8/5/2019                                   Case 2:19-cv-08481-PSG-PLA   Document     1-2 Call
                                                                          Ringba | Enterprise Filed  09/30/19
                                                                                                 Tracking Software   Page 4 of 35 Page ID
                                                                                   #:20



                                                                                                                                    (877) 944-2937




           Download 200+ Free Landing Pages for Pay Per Call
           These landing pages are entirely Free for you to use for your campaigns. Included in every theme are 5 CSS color
           options and up to 15 background images for 1,500+ possible A/B testing combinations.


               Mobile Responsive

               Click-to-Call Ready

               Perfect for Lead Generation

               Designed for Pay Per Call




                                                       200+ FREE LANDING PAGES FOR PAY PER CALL

                                        Full Name                                                                                           

                                        Skype Username                                                                                    

                                        Email Address                                                                                     

                                                                        EMAIL ME DOWNLOAD LINK




                                   PAY PER CALL LANDING PAGE CATEGORIES

                       Appliance Repair                                 Health Insurance                                       Locksmith


                       Auto Insurance                                   Home Insurance                                         Medical Weight Loss


                       Auto Repair                                      Home Mortgage                                          Payday Loans



                       Cable-Satellite                                  Home Security                                          Pest Control


                       Chiropratic                                      Housekeeper / Maid                                     Plastic Surgery


                                                                        Identity Theft                                         Plumbing
                       Credit Repair


                                                                        Internet                                               Psychic / Ethereal
                       Credit-card-Processing

                                                                        Lawn Care                                              Roo ng
                       Debt Relief

                                                                        Legal: Bankruptcy                                      Solar panels
                                                                                                                                                          
https://learn.ringba.com/free-pay-per-call-landing-pages/index.html
                                                                                                                                                     Ex. 2    1/3
8/5/2019                                   Case 2:19-cv-08481-PSG-PLA                   Document      1-2 Call
                                                                                           Ringba | Enterprise Filed  09/30/19
                                                                                                                  Tracking Software   Page 5 of 35 Page ID
                                                                                                    #:21
                       Dental                                                           Legal: Criminal                                         Student Loan Consolidation



                       Drug Rehab                                                       Legal: Divorce                                          Tax Dept Relief


                                                                                        Legal: Family                                           Towing
                       Electrical Repair


                                                                                        Legal: Personal Injury                                  Tree Removal
                       Flowers


                                                                                        Life Insurance
                       Garage Door Repair


                       Hair Removal




                    Ringba is the Ultimate Tracking Platform for Inbound Calls




              CAMPAIGN TRACKING                                 NUMBER MANAGEMENT                               CALL ATTRIBUTION                    AUTOMATED ROUTING
                Track and manage your                                 Create and manage phone                  Attribute tra c sources,               Create dynamic routing
               call campaigns with real-                               numbers in countries all               keywords and other data to             plans to forward your call
                     time analytics.                                       over the world.                         your campaigns.                       tra c to buyers.




                   TARGET / LOAD                                           ADVANCED                                   ROBUST API                     CUSTOMER SUPPORT
                     BALANCING                                           INTEGRATIONS
                                                                                                                Tap into the entire Ringba               Get live chat and email
                Eliminate abandons and                                  Seamlessly integrate                   platform and manage your                    support from our
                reclaim lost revenue by                               Ringba your existing stack                        campaigns.                    dedicated support team.
                routing over ow tra c.                                  for complete visibility.




                                                                                                                                                                                 
https://learn.ringba.com/free-pay-per-call-landing-pages/index.html
                                                                                                                                                                            Ex. 2    2/3
8/5/2019                                   Case 2:19-cv-08481-PSG-PLA            Document     1-2 Call
                                                                                   Ringba | Enterprise Filed  09/30/19
                                                                                                          Tracking Software   Page 6 of 35 Page ID
                                                                                            #:22




                                                                      Platform                                Company                             Resources

                                                                      Features                                    About                               Blog
                                                                       Pricing                                    Hiring                             Training
                                                                       Support                               Brand Assets                            Glossary
                                                                       Contact                                   Meet Us




                               © 2018 Ringba.com | All Rights Reserved                                     System Status | Terms and Conditions | Privacy Policy |
                                                                                                                                   Report Abuse




                                                                                                                                                                     
https://learn.ringba.com/free-pay-per-call-landing-pages/index.html
                                                                                                                                                                Ex. 2    3/3
Case 2:19-cv-08481-PSG-PLA   Document 1-2   Filed 09/30/19   Page 7 of 35 Page ID
                                    #:23




                                                                                Ex. 2
8/5/2019 Case 2:19-cv-08481-PSG-PLA            Document 1-2 Ringba
                                                               Filed 09/30/19              Page 8 of 35 Page ID
                                                      #:24

                                                                           PRODUCTS                    PRICING           LO G I N




Signup for Ringba                                                                                                  COMPANY
Start entering your company information




    FULL NAME                                                                                   BILLING ADDRESS




    EMAIL ADDRESS                                                                               CITY




    PASSWORD                                                                                   PHONE NUMBER




    COMPANY NAME                                                                                UNITED STATES




                                                               E N T E R P AY M E N T I N F O R M A T I O N




                                 TRAINING            SYSTEM STATUS               ADDR E SS                                   C ALL


                                 GLOS SARY           TERMS


                                 BLOG                PRIVACY


                                 DEVELOP ERS         A BUSE




https://www.ringba.com/signup/
                                                                                                                 Ex. 2          1/1
8/5/2019 Case 2:19-cv-08481-PSG-PLA                       Document
                                                               Getting1-2      Filed 09/30/19
                                                                       Started Archives - Ringba         Page 9 of 35 Page ID
                                                                    #:25
                                                                   P RO D U C T S   PRICING   LO G I N         SIGNUP




                                                            Products

                                                            Pricing

                                                            Login

                                                            Signup

                                                            Legal




                                     Video Walkthrough




https://www.ringba.com/support/category/getting-started
                                                                                                                        Ex. 2   1/11
8/5/2019   Case 2:19-cv-08481-PSG-PLA                           Document    1-2 Archives
                                                                    Getting Started Filed -09/30/19
                                                                                           Ringba                              Page 10 of 35 Page
                                                                      ID #:26
                                                                            P RO D U C T S         PRICING          LO G I N          SIGNUP
                                                 22:29




                                     In this video tutorial, you are going to get a complete overview of
                                     Ringba’s Call Tracking platform, including;


                                     What Ringba can do for you and your                 How to Create a Campaign (01:45)
                                     business (00:00)




                                     How to get your Tracking Number (02:30)             How to configure your first Target (02:45)




                                     How to configure conversion values,                 How to test your Tracking Number and
                                     events and publisher payouts (03:38)                set your campaign live (04:32)


                                                                  Products
                                     Managing Campaigns (05:10)                          Creating Publisher accounts (10:15)


                                                                  Pricing
                                     Creating additional Targets (11:37)                 Adding Targets to Campaigns (16:57)

                                                                  Login
                                     Target Weight and Priority (18:01)                  The Reporting Interface (18:58)

                                                                  Signup
                                     Reports – Charting (19:45)                          Reports – Calls (20:06)
                                                                  Legal
                                     Reports – Call Details (20:29)                      How To Listen to Call Recordings (21:29)




https://www.ringba.com/support/category/getting-started
                                                                                                                                               Ex. 2   2/11
8/5/2019   Case 2:19-cv-08481-PSG-PLA                     Document    1-2 Archives
                                                              Getting Started Filed -09/30/19
                                                                                     Ringba              Page 11 of 35 Page
                                                                ID #:27
                                                                  P RO D U C T S   PRICING    LO G I N        SIGNUP




                                     Using Ringba
                                                           Products
                                     Ringba is a versatile platform that can be used to power many
                                     different types of businesses and their call flow. There are a
                                     significant number of use cases for our product and new systems

                                                           Pricing
                                     are being developed by our clients on a regular basis. Marketing
                                     is about creativity combined with execution — the examples you
                                     see below only scratch the surface of possibilities.

                                                           Login
                                     If you aren’t sure how Ringba may apply to your business, please
                                                           Signup
                                     reach out to our Business Development team and we’re more
                                     than happy to help strategize the best implementation for your
                                     business.
                                                           Legal

                                     Affiliate Networks (Pay Per Call
                                     Networks)
                                     In the most competitive landscape in digital marketing Affiliate

                                     Networks need the best tracking and technology to power their
                                     businesses. Ringba provides Affiliate and Pay Per Call networks
                                     with the fastest and most robust tracking and reporting platform
                                     available. We understand what it takes to run a successful
                                     network and used our experience to build reporting for your
                                     affiliates that gives them significant optimization data increasing
                                     their ability to drive profitable campaigns and out-optimize their
                                     competition. Giving your affiliates the most powerful and
                                     competitive tools to get the job done means your business will
                                     thrive against everyone else without them.




                                     Affiliate Programs
https://www.ringba.com/support/category/getting-started
                                                                                                                       Ex. 2   3/11
8/5/2019   Case 2:19-cv-08481-PSG-PLA                     Document    1-2 Archives
                                                              Getting Started Filed -09/30/19
                                                                                     Ringba           Page 12 of 35 Page
                                                                ID #:28
                                     Improve the likelihood of a sale from your partner traffic by
                                                                  P RO D U C T S PRICING      LO G I N      SIGNUP
                                     offering compensation for calls. Ringba allows Affiliate Programs
                                     to augment their current revenue by placing tracking numbers on
                                     their partners promotional websites, monitoring quality and
                                     compliance, and tracking all of revenue generated and payouts to
                                     your partners. See which of your partners are providing the best
                                     return on investment and grow your Affiliate Program in new
                                     channels by driving customers to your services when they’re most
                                     likely to buy.




                                     Call Centers
                                     Stop relying entirely on partners to keep your agents on the
                                     phone. 3rd Party technical issues, loss of calls due to competition,
                                     and the feast or famine environment that comes with it is not
                                     healthy for your business. With Ringba you can add additional
                                     revenue streams by using the experience you already have,
                                     generating your own calls significantly increasing your margins, or
                                     by brokering overflow to partner call centers. By using Ringba’s
                                     intelligent performance routing you can virtually eliminate

                                                           Products
                                     abandons and have the opportunity to run your contact center at
                                     maximum capacity where its most profitable.


                                                         Pricing
                                     eCommerce Vendors
                                                         Login
                                     A customer’s journey through your online store tells you more
                                     about their intent than anything else. Using Ringba’s dynamic

                                                           Signup
                                     number pooling and tracking you can follow your customer
                                     throughout their entire lifecycle from initial touch points to after
                                     sale follow-up. By seeing where your customers call for support,

                                                           Legal
                                     or when they call to buy, you can optimize your store for
                                     maximum profitability — driving sales calls while reducing
                                     customer service.




                                     Large Businesses
                                     As your business grows, operational complexity lowers margins
                                     and increases the likelihood that sales opportunities are missed.
                                     By using Ringba to track your omnichannel marketing
                                     environment you receive performance based analytics and
                                     oversight into all of the marketing campaigns driving your growth
                                     and the performance of your marketing team. Without visibility
                                     into your metrics across the board, and the ability to drill into
                                     each segment and team member’s performance you’re flying
                                     blind.




                                     Performance Marketers
                                     The most important part of Performance Marketing is tracking
                                     your ad spend and optimizing your campaigns. Ringba allows you
https://www.ringba.com/support/category/getting-started
                                                                                                                     Ex. 2   4/11
8/5/2019   Case 2:19-cv-08481-PSG-PLA                    Document        1-2 Archives
                                                                 Getting Started Filed -09/30/19
                                                                                        Ringba                   Page 13 of 35 Page
                                                                   ID   #:29
                                     to do this at an unparalleled level giving you visibility into
                                     granular reporting like no other
                                                                   P RO D Ucall
                                                                           C T S attribution
                                                                                        P R I C I N Gor marketing
                                                                                                            LO G I N   SIGNUP

                                     platform. Our advanced rule based routing and optimization
                                     functions allow you to buy, sell and manage millions of calls in
                                     over 80 countries simultaneously, while routing those calls by
                                     availability, schedule, user and performance to the right sales
                                     agent at the right time. Reduce your abandons, optimize non-
                                     performing traffic sources, stay compliant and most importantly
                                     drastically improve your profit margins with Ringba.




                                     Small Businesses
                                     With limited resources managing the performance of advertising
                                     spend is extremely important. Using Ringba to track calls from
                                     your local Google listing, Yellow Page listing, Facebook, Twitter,
                                     Website, eCommerce store, email marketing, or other advertising
                                     placements will allow you to see where your advertising dollars
                                     are most effective. One of the biggest mistakes small businesses
                                     make is thinking they’re not big enough to properly track their
                                     marketing efforts and Ringba is the solution. By placing unique
                                     numbers in all of your channels and tracking the number of
                                                               Products
                                     clients gained you will be able to keep the winners and cut the
                                     losers. Ringba is also a great way to reduce overhead by using IVR
                                     and voicemail features to act as a cloud based PBX and answering
                                     service after hours.      Pricing

                                                Login
                                     TV Advertisers
                                                               Signup
                                     Using Ringba, TV Advertisers can issue multiple geographically
                                     relevant or toll free phone numbers and insert them into
                                     specifically targeted TV advertising campaigns. Just like buying
                                                               Legal
                                     online advertising, TV networks can ‘roll’ different commercials in
                                     specific areas, allowing you to track the performance of different
                                     channels, regions, demographics, shows and specific times. When
                                     done properly, TV advertising is very similar to an online
                                     marketing campaign and the extra effort used to segment your
                                     commercial or infomercial typically increases your return on
                                     investment by a significant margin.




https://www.ringba.com/support/category/getting-started
                                                                                                                                Ex. 2   5/11
8/5/2019   Case 2:19-cv-08481-PSG-PLA                     Document    1-2 Archives
                                                              Getting Started Filed -09/30/19
                                                                                     Ringba              Page 14 of 35 Page
                                                                ID #:30
                                                                  P RO D U C T S   PRICING    LO G I N        SIGNUP




                                     Platform Overview
                                                Products
                                     Ringba is a versatile platform that can be used to manage
                                     different call streams, use cases, and applications at the same
                                     time.                 Pricing

                                                Login & Analytics
                                     Real-Time Reporting
                                                           Signup
                                     Ringba’s reporting is available throughout the site to give you
                                     immediate access to critical information you can use to make
                                     decisions about your click and call streams. We aggregate as
                                                           Legal
                                     much data as possible about the people who call, and those who
                                     don’t, to give you mission critical access to optimization data you
                                     won’t find anywhere else.



                                     Our numerous reporting interfaces let you quickly drill in and sort
                                     all of your data streams to gain actionable insights into all of your
                                     partners and campaigns.




                                     Call Attribution
                                     By using our number placement tags on your websites and
                                     landing pages for publishers, static numbers and dynamic
                                     number pools, Ringba will track and attribute calls to any and all
                                     available data giving you a rich understanding of your users and
                                     traffic sources. The data collection process is simple, automated,
                                     and entirely configurable to your specifications. Easily pass your
                                     data back to your marketing automation platforms, tracking
                                     services, or back to your clients.



                                     With access to our powerful attribution data, you can virtually
                                      li i t
https://www.ringba.com/support/category/getting-started
                                                         li t    t        d t ffi          Gi                          Ex. 2   6/11
8/5/2019   Case 2:19-cv-08481-PSG-PLA                        Document    1-2 Archives
                                                                 Getting Started Filed -09/30/19
                                                                                        Ringba                    Page 15 of 35 Page
                                     eliminate non-compliant partners
                                                                   ID #:31    and traffic sources. Give your
                                     clients peace of mind with verifiable
                                                                  P RO D U C T S compliance
                                                                                      P R I C I N G information
                                                                                                          LO G I N pro-   SIGNUP

                                     actively protecting their brand and establishing long term
                                     partnerships.




                                     Intelligent Call Routing
                                     Inside Ringba the partner that receives or buys calls is referred to
                                     as a “Target”. When configuring campaigns in our system you
                                     have the ability to add specific targets and target groups,
                                     prioritize the routing, cap volume with extremely flexible time
                                     tables and restrictions, route calls by user data such as device,
                                     location, ISP, browser, referring website, landing page, caller ID
                                     information, and most importantly Target performance.



                                     Using target configuration in combination with information
                                     grabbed by our system (URL Tags), you can generate routing plans
                                     that put your callers in the most profitable place at the most
                                     profitable time.


                                                          Products
                                     Number Pooling
                                                          Pricing
                                     By using a group of numbers Ringba is able to track specific
                                     information about every user that visits your website or landing
                                     page. In our system we call groups of numbers used for tracking
                                                               Login
                                     “Number Pools”. These pools are activated by a simple to use tag
                                     that is placed on your website.

                                                               Signup
                                     Ringba is able to manage pools of toll free or localized phone
                                     numbers in over 80 countries giving you the flexibility to run and
                                                               Legal
                                     optimize your campaigns in the most profitable way, almost
                                     anywhere.




                                     Publisher Tracking & Management
                                     Partnerships are an important part of any business and Ringba is
                                     designed to give your partners the same level of insights. Our
                                     publisher accounts give your clients the same detailed and
                                     granular access to data as you, giving them the ability to use
                                     Ringba to optimize their campaigns at a level they’ve never
                                     experienced before in a partnership portal.



                                     Giving your partner’s access to this level of data allows them to
                                     streamline their business and increase their ROI without your
                                     intervention, adding a longer lifecycle to your campaigns and
                                     arming you with a competitive edge.



                                     The reporting interface lets you view your publisher activity, track
                                     revenue, revshare, payouts, conversions and export all of your
                                     data to properly manager your payables.
https://www.ringba.com/support/category/getting-started
                                                                                                                                   Ex. 2   7/11
8/5/2019   Case 2:19-cv-08481-PSG-PLA
                                p p y
                                                          Document
                                                           g y
                                                                      1-2 Archives
                                                              Getting Started
                                                                    p y
                                                                              Filed -09/30/19
                                                                                     Ringba             Page 16 of 35 Page
                                                                ID #:32
                                                                 P RO D U C T S   PRICING    LO G I N        SIGNUP



                                     Call Center / Buyer Load Balancing –
                                     “Targets”
                                     Managing a call center is a complicated process of feast or
                                     famine. Ringba was specifically designed with these challenges in
                                     mind, allowing for dynamic routing plans for your campaigns
                                     based on schedule, concurrency, volume caps, productivity, and
                                     performance. Virtually eliminate abandons by monitoring your
                                     available agents and automatically route your overflow to call
                                     buyers and marketplaces to reclaim lost revenue.



                                     Our system can monitor groups of agents across numerous
                                     campaigns making sure to never overload your team and gives
                                     you the flexibility to adjust your concurrency in real-time. Arm
                                     your team leaders and floor managers today with the ability to
                                     help maximize your revenues and stop wasting calls now.



                                                           Products

                                                           Pricing

                                                           Login

                                                           Signup

                                                           Legal




https://www.ringba.com/support/category/getting-started
                                                                                                                      Ex. 2   8/11
8/5/2019   Case 2:19-cv-08481-PSG-PLA                           Document    1-2 Archives
                                                                    Getting Started Filed -09/30/19
                                                                                           Ringba                            Page 17 of 35 Page
                                                                      ID #:33
                                     Platform Introduction                P RO D U C T S         PRICING          LO G I N        SIGNUP




                                     Ringba is an advanced call tracking and routing platform designed
                                     to give you complete control over your call marketing and
                                     significantly improve your return on investment.



                                     Using our software you can track the sources of calls, see detailed
                                     information about callers generated from online marketing,
                                     manage your product’s affiliate marketing programs, control call
                                     flow into your contact center and run an entire pay per call
                                     network.




                                     Why we built Ringba
                                     When our team started building Ringba we decided not to sell it
                                     as a service until we made millions of dollars using it. We spent a
                                     year optimizing the platform and process to give us the best tools
                                     possible to increase our return on investment and scale our call
                                     business. Since then we have opened massive contact centers on

                                                                  Products
                                     multiple continents to handle the volumes of calls we were able to
                                     generate, track, optimize and make profitable.


                                                                  Pricing
                                     Having our own call center infrastructure gives us in-depth
                                     insights into the industry and allows us to test and perfect our
                                                                  Login
                                     features before releasing them.



                                                                  Signup
                                     We’re excited to share what we’ve learned and help your business
                                     use our software to grow. At any time if you need assistance we
                                     encourage you to reach out to our team. We chose never to have
                                                                  Legal
                                     contracts to guarantee we’re engaged with our clients and do
                                     whatever it takes to help their businesses thrive.




                                     What can Ringba do?
                                     Track the source of inbound calls.                Learn detailed information about your
                                                                                       users opening doors to new
                                                                                       opportunities.




                                     Optimize and improve your advertising             Create new ways to generate business.
                                     ROI.




                                     Reduce abandons and wasted                        Manage call flow for multiple locations
                                     opportunities.                                    anywhere in the world.




                                     Manage compliance and regulations.




https://www.ringba.com/support/category/getting-started
                                                                                                                                           Ex. 2   9/11
8/5/2019   Case 2:19-cv-08481-PSG-PLA                     Document    1-2 Archives
                                                              Getting Started Filed -09/30/19
                                                                                     Ringba                      Page 18 of 35 Page
                                                                ID #:34
                                     Who should use Ringba?      P RO D U C T S        PRICING        LO G I N        SIGNUP




                                     Affiliate Networks                       Call Centers




                                     eCommerce Vendors                        Large Businesses




                                     Marketing Teams                          Performance Marketers




                                     Small Businesses                         TV Advertisers




                                                           Products

                                                           Pricing

                                                           Login

                                                           Signup

                                                           Legal
        Recent Articles from the Blog
        The latest news, updates, tutorials, how-to’s from the Ringba team




https://www.ringba.com/support/category/getting-started
                                                                                                                               Ex. 2   10/11
8/5/2019       Case 2:19-cv-08481-PSG-PLA                               Document    1-2 Archives
                                                                            Getting Started Filed -09/30/19
                                                                                                   Ringba                     Page 19 of 35 Page
                                                                              ID #:35
                                                                               P RO D U C T S     PRICING          LO G I N          SIGNUP




                                   BLOG                                                                                          BLOG


and                                Insights from Sean McCormick                                                                  Insights from Jen
nk                                 and Zack Bloom, Co-Founders of                                                                CEO and Founder
                                   Covalent Media Group                                                                          “I was an emailer. That's what we did. An
                                                                                                                                 few emails sites and an email server. And
                                                                                                                                 about three or four affiliate networks, w
om surveys                         “We started from my dining room, until we were able to afford an office
 actually an                       space. We were fortunate to get this office space probably about six                          were no tracking platforms. Direct track
him, but                           months after starting the company. But every day, Zack and our                                consortium…
t of…                              program, or our CTO, JJ would come to my house. We'd worked at my
                                   dining room table and…




                                          READ MORE                                                                                     READ MORE




         Join Our Newsletter                                                                                 Enter Your Email
                                                                                                                                           SUBSCRIBE
         Profitable marketing tactics, case studies, in-depth guides, and
         more. Enter your email address now.




                                      T R AINING            SYS TE M STAT US         A DD RE SS                        CALL US                F O L LO W US


                                      GLO SSARY             T ER MS                                                                                            
                                      BLO G                 PR IVAC Y


                                      DE VE LO PERS         ABU SE




https://www.ringba.com/support/category/getting-started
                                                                                                                                                   Ex. 2              11/11
8/5/2019   Case 2:19-cv-08481-PSG-PLA                                Document Ringba
                                                                              1-2 | LinkedIn
                                                                                     Filed 09/30/19                            Page 20 of 35 Page
                                                                          ID #:36
                                                                                                                                                     Sign in    Join now


                                                                        Jobs          Companies           Salaries




                               Ringba                                                                                Share
                               Computer Software · San Diego, CA · 188 followers

                                           See all 11 employees on LinkedIn →


                                 See jobs




     Keep up with Ringba
     See more information about Ringba, find and apply to jobs that match your skills, and connect with people to
     advance your career.


        Join LinkedIn          Sign In
                                                                                                                               People also viewed


                                                                                                                                          Adam Young
     About us                                                            Recent update                               See all              Broadcast Media
                                                                                                                                          51-200 employees
     Ringba provides enterprise grade call tracking to businesses,
     pay per call networks, agencies and performance marketers
                                                                                                                                          BPO Now
     of all sizes.
                                                                                                                                          Marketing and Advertising
                                                                                                                                          1001-5000 employees
     We give our client's unparalleled real-time tracking and
     analytics like no one else in our industry. Our detailed
     reporting is designed for media buying, click arbitrage, and                                                                         Centerpointe Lending Corp
     massive scale.                                                                                                                       Financial Services
                                                                                                                                          11-50 employees
                                                                           Pay Per Callers Party at Affiliate…
                                                                           eventbrite.com

                                                                                                                                          Telnyx
                                                                          1 Likes                                      4w                 Telecommunications
                                                                                                                                          51-200 employees


                                                          See more                                                                        Pay Per Plan

                                                                                                                                          Financial Services
                                                                                                                                          11-50 employees
     Employees at Ringba
                                                                                                                                          Pay Per Calls - Seven Calls
                                                                                                                                          Marketing and Advertising
               Camden Ho                                                                                                                  11-50 employees
                                                                                                          View profile


               Dmytro Zakharov
               Sr Software Engineer                                                                       View profile


               Dan Shiff
               Vice President, Strategic Partnerships                                                     View profile


               Melissa Lai
               Sr. Business Development Manager                                                           View profile


               Peter Fusco
               CTO/Tech Lead                                                                              View profile




https://www.linkedin.com/company/ringba
                                                                                                                                                    Ex. 2                  1/3
8/5/2019   Case 2:19-cv-08481-PSG-PLA                                Document Ringba
                                                                              1-2 | LinkedIn
                                                                                     Filed 09/30/19                        Page 21 of 35 Page
                                                                          ID #:37
                                     Sign in to find employee connections                                                              Sign in   Join now




  Recent updates


                                                  Ringba
                                                  4w

               Ringba
                                      We're hosting the Official Pay Per Call Party at #ASE19 in Partnership with
             188 followers            Affiliate Summit

      Follow Ringba to stay up-to-    Join Ringba, Offer Vault and Trellian for great food, drinks, and your chance at
      date with news, articles and    winning $250K
                 jobs.
                                      Get the Details and RSVP: https://lnkd.in/gm5y49k
                Follow
                                      #PayPerCallersParty #ASE #AffiliateSummitEast #PayPerCall




                                          Pay Per Callers Party at Affiliate Summit East 2019
                                          eventbrite.com

                                      1 Like


                                               Like        Comment      Share


                                                  Ringba
                                                  1mo

                                          What it was like to get acquired with Sean McCormick and Zack Bloom, co-
                                      founders of Covalent Media Group. Learn how these guys created a lead gen
                                      and Pay Per Call powerhouse.

                                      https://lnkd.in/gSyeZxf

                                      #PayPerCallers #PayPerCall #LeadGeneration #Marketing #Business #Podcast
                                      #Interview




                                          Pay Per Callers Show - Interview with Sean McCormick and Zack Bloom,
                                          Covalent…
                                          https://www.youtube.com/



                                               Like        Comment      Share


                                                  Ringba
                                                  5mo

                                      Hey Pay Per Callers,

                                      The Ringba team spent over 100 hours writing a Pay Per Call training program
                                      for our new employees and have decided to give it away to the community for
                                      free. Some of our good friends in here are already using it to train their Pay Per
                                      Call teams.


https://www.linkedin.com/company/ringba
                                                                                                                                       Ex. 2                2/3
8/5/2019    Case 2:19-cv-08481-PSG-PLA                        Document Ringba  1-2 | LinkedIn
                                                                                          Filed 09/30/19                Page 22 of 35 Page
                                                                        ID    #:38
                                     Shout out to all the community members that helped with feedback during the
                                     process. I really appreciate the help.                                                         Sign in   Join now

                                     We encourage everyone, whether your new or a battle worn veteran, to enroll or
                                     use the course to train your staff members.

                                     Our goal is to enroll 100,000 people into the course, which should result in
                                     thousands of new high quality affiliates and businesses. With luck, we will
                                     drastically increase the size of the community while generating tens or hundreds
                                     of millions in revenue across the industry.

                                     The Ringba team strongly believes in the Pay Per Call community and will
                                     continue to do whatever it takes to lead the way into the future.

                                     https://lnkd.in/gJtkwgM



                                     #marketing #paypercall #digitalmarketing #affiliatemarketing




                                          Ringba's Pay Per Call Training
                                          paypercallmasterclass.com

                                     4 Likes


                                             Like        Comment           Share



                                      Join Linkedin to see all updates and stay up-to-date with news,
                                      articles and jobs at Ringba.

                                           Join LinkedIn              Sign In




              © 2019                                                               About

   User Agreement                                                                  Privacy Policy

   Cookie Policy                                                                   Copyright Policy

   Brand Policy                                                                    Guest Controls

   Community Guidelines                                                            Language




https://www.linkedin.com/company/ringba
                                                                                                                                    Ex. 2                3/3
       Case 2:19-cv-08481-PSG-PLA                  Document 1-2          Filed 09/30/19        Page 23 of 35 Page
                                                        ID #:39


HOME / MARKETING SOFTWARE / INBOUND CALL TRACKING SOFTWARE / RINGBA / RINGBA REVIEWS




                   Ringba
                                                                  (42)


                                                      REQUEST A DEMO



 Product Information        Reviews         Pricing       Features




  Ringba Reviews & Product Details


  What is Ringba?
  Enterprise grade inbound call tracking for businesses, call centers, and professional marketers. Our innovative call tracking
  and routing platform has the absolute best reporting and analytics in the business, with real-time access to everything and
  live dashboards to monitor your call ow.


     WRITE A REVIEW




                             Learning about Ringba? We can help.
                             Chat with a G2 advisor



  Ringba Pro le Details

      Ringba Pro le Details

                           Provided by:
                           Adam Young
                           Capitalist
                                                                          Want help from one of our buying
                           Website
                                                                          advisors to help you nd the right                       2
                           www.ringba.com
                                                                          solution for your business?
      Related Links                                                                                              Ex. 2
      Q&A
    Languages Supported
     Case 2:19-cv-08481-PSG-PLA
    English
                                             Document 1-2              Filed 09/30/19   Page 24 of 35 Page
                                                  ID #:40

                                                       Show more




                            Learning about Ringba? We can help.
                            Chat with a G2 advisor




Ringba Reviews
 Search 42 reviews                                                                             Filter Reviews


                                                      Write a Review


1-25 of 42 total Ringba reviews



  Ringba Reviews                     Write a Review

  Filter By

      5 star                                                                                      41

      4 star                                                                                      1

      3 star                                                                                      0

      2 star                                                                                      0

      1 star                                                                                      0

   Company Size

   User Role

   All Industries

   Region

              Connections
      OFF



  Show reviews that mention

   Search 42 Ringba veri ed-user reviews                               Want help from one of our buying
                                                                       advisors to help you nd the right          2

                                                                       solution for your business?
1-25 of 42 total Ringba reviews                                                                        Ex.
                                                                                                        Sort2by
                   Jun 18, 2019                                                                                Copy Review URL
      Case 2:19-cv-08481-PSG-PLA                   Document 1-2           Filed 09/30/19         Page 25 of 35 Page
                                             Jun 18, 2019 ID #:41                                              Copy Review URL

                            "Best Call Tracking Platform for Media Buyers"
                            What do you like best?
                            As a media buyer, I love the reporting dashboard. The ring pool was straightforward to integrate
Jonathan B                  on our collection of websites, allowing us to optimize campaigns based on which keywords, ads,
VP Strategy                 and landing pages generated calls. Rather than having to set up a multitude of phone numbers,
Marketing and Advertising   we can rely on the tracking script to feed us the data in real-time.
Small-Business
(11-50 employees)           Additionally, setting up campaigns, promo numbers, and the ping tree (ability to ping other
                            networks) makes campaign management a breeze. Updating campaigns based on real-time data
Validated Reviewer          (ability to see active calls) also gives me insight into campaigns that I never had previously.
Veri ed Current User
                            Lastly, their customer support is unrivaled in this industry. I've unfortunately become accustomed
Review Source
                            to submitting support requests and tickets that go unanswered from a lot of the major software
                                                                         Show More

                   Apr 04, 2019                                                                                Copy Review URL

                                                      Apr 04, 2019                                             Copy Review URL

                                       "Ringba - One of the Best PPCall Tracker"
                                       What do you like best?
                                       They keep rolling out new features and resources which are ideal for pay per callers to
Navdeep S                              stay in touch with the latest trends and tactics.
Managing Director
Information Technology and Services    What do you dislike?
Small-Business                         Well, that's a hard question. Waiting for some more features like request a call back
(2-10 employees)                       action. Hope they roll out that feature too.

Validated Reviewer                     What problems are you solving with the product? What bene ts have you realized?
                                       Ringba allows us to add campaigns and publishers can apply directly within Ringba
Veri ed Current User
                                       itself. We can update publishers with real-time changes in the campaign via email
Review Source
                                       update The dashboard allows to make adjustments in the payouts if there are any The
                                                                             Show More

                   Sep 21, 2018                                                                                Copy Review URL

                                             Sep 21, 2018                                                      Copy Review URL


                                  Business partner of the vendor or vendor's competitor, not included in G2
                                  scores.
Rida T
Mid-Market
(501-1000 employees)        "Provides Immediate and Potential Customers"
                            What do you like best?
Validated Reviewer          Our company runs various campaigns across multiple marketing channels, and one of the
Veri ed Current User        headaches associated with such a large scale operation is to offer to follow-up calls to clients
                                                                           Want help from one of our buying
Review Source               and customers. We had to go through quite a lot of numbers on a daily basis to catch up on
                                                                           advisors   to helpofyou    nd the faced
                                                                                                              right by the        2
                            everyone, and it's inevitable that we miss out on some because     the hardships
                            marketing wing in tracking every single call wesolution
                                                                            get. Whenfor
                                                                                       weyour  business?
                                                                                          implemented   Ringba into our
                            technology stack, we wanted the software to ease up the call management processEx.    a bit 2
                                                                                                                        to make
                            everything easier to understand with reporting. Ringba took us by surprise as it performed better
                             than we had hoped for - especially when compared to any of the solutions we explored. It does all
      Case 2:19-cv-08481-PSG-PLA           Document
                     the hard work when it comes          1-2 allFiled
                                                   to recording           09/30/19
                                                                   the data             Page 26it into
                                                                            we need, structuring  of 35easyPage
                                                                                                           to read
                                                     ID  #:42
                     reports and simplif o r entire call ro ting and call management process We can and then
                                                                         Show More

                   Jun 15, 2018                                                                                 Copy Review URL

                                                      Jun 15, 2018                                              Copy Review URL

                                      "Powerful call tracking and evolving platform"
                                      What do you like best?
                                      Ringba is an incredibly powerful call tracking system, it’s quick to setup and even easier
Joseph G                              to use on daily. The support staff is very helpful and responsive. It’s very easy to manage
Front-End Web Developer               campaigns and the reports, stats, call recordings are all perfect.
Information Technology and Services
                                      What do you dislike?
Validated Reviewer
                                      There is nothing I can say about what I don’t like about Ringba. Their team is super
                                      friendly and quick about inquiries. All the of the features you are going to need are there
Veri ed Current User
                                      so you get what you put into it.
Review Source
                                      Recommendations to others considering the product:
                                      Try it out and see if you like it or not You won’t nd better pricing or an easier product to
                                                                             Show More

                   Jun 15, 2018                                                                                 Copy Review URL

                                             Jun 15, 2018                                                       Copy Review URL

                             "Extremely satis ed with Ringba"
                             What do you like best?
                             Ease of use by far. As soon as I login, I have everything i could possibly need to run a successful
Zain S                       call campaign. Ringba gives their users a really powerful solution for managing call ows and
Social Media Marketing       tracking the exact source of my calls.
Small-Business
(2-10 employees)             What do you dislike?
                             There is not much to dislike with Ringba.
Validated Reviewer
                             Recommendations to others considering the product:
Veri ed Current User
                             If you need to track phone calls or direct call ow, Ringba is the perfect platform for showing
Review Source
                             exactly what channel a phone call is from and sending it wherever you need it to go. If you need to
                             create IVRs you build your own in seconds
                                                                         Show More

                   Jun 04, 2018                                                                                 Copy Review URL

                                             Jun 04, 2018                                                       Copy Review URL

                             "Ringba is the future"
                             What do you like best?
                             There are so many great features built into Ringba but if I were to pick a favorite, it would be their
Mandeep Singh G              reporting dashboard. The level of detail they provide is incredible. Also, they really care about the
                                                                           Want help from one of our buying
Vice President Engineering   customer and I believe it is their customer centric approach that separates them from their
                                                                           advisors to help you nd the right                          2
Marketing and Advertising    competitors. They value customer feedback and know how to retain their customers.
Small-Business
                                                                            solution for your business?
                             What do you dislike?
(2-10 employees)
                                                                                                                    Ex. 2
Validated Reviewer           We have been using Ringba for nearly 6 months without complaints. So, there is really nothing
Veri edCase
        Current2:19-cv-08481-PSG-PLA
                User     that I dislike about theDocument
                                                 product. And1-2      Filed
                                                              I love the way 09/30/19      Page 27the
                                                                             they keep on enhancing ofproduct
                                                                                                       35 Pageregularly,
Review Source                adding new features If there isID
                                                             any#:43
                                                                 feature you need that they don't have you just have to tell
                                                                        Show More


                   May 31, 2018                                                                               Copy Review URL

                                            May 31, 2018                                                      Copy Review URL


   NM                       "We wish we migrated sooner! "
                            What do you like best?
                            - beefed up call tracking functionality, which has allowed us to reach maximum levels of e ciency
Noaz M
Small-Business              - open API which has allowed us to integrate seamlessly
(11-50 employees)
                            - super easy to create custom reports
Validated Reviewer
                            - the level of support we receive is unbeatable, not only for initial implementation but ongoing
Veri ed Current User
Review Source               - best prices in the game (and I checked out a ton of other competitors)

                            What do you dislike?

                                                                       Show More

                   Jun 12, 2018                                                                               Copy Review URL

                                            Jun 12, 2018                                                      Copy Review URL

                            "Top tier team and product"
                            What do you like best?
                            I have been able to track the actual areas we are marketing to con rm results and make better
Ana N                       decisions about our ad spend.
Content Writer
Internet                    What do you dislike?
Small-Business              I have not had any issues at all using Ringba. De nitely nothing to complain about
(11-50 employees)
                            Recommendations to others considering the product:
Validated Reviewer          A great call tracking product that won’t break your budget and give everything you need to
                            manage your inbound calls.
Veri ed Current User
Review Source               What problems are you solving with the product? What bene ts have you realized?

                                                                       Show More

                   Apr 11, 2018                                                                               Copy Review URL

                                            Apr 11, 2018                                                      Copy Review URL

                            "Awesome way to track calls and prove ROI"
                            What do you like best?
                            I love how easy it is to set up new campaigns and get tracking numbers. The reporting dashboard
Lakhyajyoti S               is super easy to nd and pull the data I need to optimize
                                                                          Want   helpmyfrom
                                                                                          ppc campaigns.
                                                                                               one of ourI also love being able
                                                                                                            buying
Blogger                     to create my own IVR trees for qualifying callers before I to
                                                                          advisors     send them
                                                                                          help   to my
                                                                                               you   ndclients.
                                                                                                          the right               2
Financial Services
                            What do you dislike?                           solution for your business?
Small-Business
(2-10 employees)                                                                                                Ex.great.
                            Nothing yet. We’ve only been using it for a few months and so far everything is working  2
                            Anything we come across that we’re not sure about, their team is very quick to help us out.
Validated Reviewer          Recommendations to others considering the product:
Veri edCase
        Current2:19-cv-08481-PSG-PLA
                User                            Document
                         Ringba is the easiest and             1-2 software
                                                   best call tracking Filed 09/30/19       Page
                                                                             for you. Period.     28 of
                                                                                              We tried so 35
                                                                                                          manyPage
                                                                                                               different
Review Source               platforms and settled on ringbaID #:44 they were the most cost effective, the easiest to use and
                                                            because

                                                                          Show More

                   Jun 19, 2019                                                                                    Copy Review URL

                                             Jun 19, 2019                                                          Copy Review URL

                            "Exceptional Software - Would Highly Recommend"
                            What do you like best?
                            Easy to use platform with exceptional insights to calls and data. Makes it easy to analyze
Devyn B                     performance in real time and make quick adjustments when needed. Their customer service is
Media Director              exceptional and their team is always available for consultation, virtually at any hour of the day.
Small-Business
(11-50 employees)           What do you dislike?
                            Very little to complain about here, but if anything would enjoy more robust reporting/ ltering
Validated Reviewer          options so our team can control their campaign view in the platform. Not a huge deal, though,
Veri ed Current User        and it's other features still make it better than other software's out there.
Review Source
                            What problems are you solving with the product? What bene ts have you realized?
                            Getting easier access to data has allowed us to scale and maximize pro tability without doubling
                                                                          Show More

                   Jun 04, 2018                                                                                    Copy Review URL

                                             Jun 04, 2018                                                          Copy Review URL

                            "Simple Call Management Platform for Serious
                            Players"
                            What do you like best?
Geoffrey H
                            It’s extremely easy to navigate everything I need to manage my call ow. I like how I can build my
Chief Financial O cer
                            own IVR menus and pre-qualify calls before receiving them. Whisper messages give me
Internet                    everything I need to know about a caller before I talk to them and the call recordings are
Mid-Market                  extremely useful for evaluating performance.
(201-500 employees)

                            What do you dislike?
Validated Reviewer          There is nothing that I can think of that I do not like about Ringba.
Veri ed Current User
Review Source               Recommendations to others considering the product:
                            Ringba provides a solid foundation for how my business manges and handles calls. It provides all
                            the analytics and reporting I need to run my business more e ciently and provide my clients with
                                                                          Show More

                   May 01, 2018                                                                                    Copy Review URL

                                                      May 01, 2018                                                 Copy Review URL

                                      "Ringba is a must have for any marketer!"
                                      What do you like best?
                                                                              Want
                                      I like being able to get multiple tracking     help for
                                                                                 numbers   from
                                                                                              anyone    of our
                                                                                                  campaign   thatbuying
                                                                                                                   I am running for
Ashutosh J                            my clients. It’s is extremely simple toadvisors
                                                                               setup and to
                                                                                         thehelp
                                                                                             ringbayou   nd isthe
                                                                                                    support     theright
                                                                                                                     best! I like the   2

Founder                                                                       solution for your business?
                                      ability to see exactly which sources calls   and conversions  are coming   from.
Information Technology and Services
                                      What do you dislike?                                                       Ex. 2
Small-Business
(2-10 employees)                      Aside from a few bugs here and there, I cannot think of anything notable that I dislike.
                                   Recommendations to others considering the product:
Validated Reviewer
      Case 2:19-cv-08481-PSG-PLA       Document
                          I would recommend   ringba 1-2     Filed 09/30/19
                                                     to any business  considering aPage        29 of software.
                                                                                       call tracking 35 Page   It is very
Veri ed Current User                             ID #:45
                          easy to setup and extremely cost-effective. Their free trial was more than enough to
Review Source                      convince me that ringba is the best call tracking platform on the market!

                                                                             Show More

                 Jun 18, 2018                                                                                     Copy Review URL

                                           Jun 18, 2018                                                           Copy Review URL

                          "Simple and easy call management at your
                           ngertips"
                          What do you like best?
Hadiya S
                          Their call tracking data is clear and easy to navigate and pull insights from. The dashboard is
Trainee
                          really easy to navigate and setup routing plans.
Banking
Mid-Market                What do you dislike?
(51-200 employees)        I don’t need to use all the features that ringba offers but it’s not any true reason to dislike it. It
                          perfectly serves my purposes.
Validated Reviewer
Veri ed Current User      Recommendations to others considering the product:
Review Source             If you are looking for a stellar product with strong customer support, ringba is the call
                          management platform for you. If you ever have any issues or need help, their team is super
                          responsive and very helpful
                                                                        Show More

                 Dec 22, 2017                                                                                     Copy Review URL

                                           Dec 22, 2017                                                           Copy Review URL

                          "Ringba is a game changer! "
                          What do you like best?
                          I liked most the Outstanding Support & Detailed Reporting which allowed our company to scale
Zaur Z                    the Call Generation and grow our operations faster than ever!
Co-Founder
Computer Software         What do you dislike?
Small-Business            I dislike that its not comfortable to operate with an iPhone
(11-50 employees)
                          Recommendations to others considering the product:
Validated Reviewer        Ringba is a game changer for anyone that wants to go to the next level in their Call Generation
                          journey
Veri ed Current User
Review Source             What problems are you solving with the product? What bene ts have you realized?

                                                                        Show More

                 Apr 03, 2019                                                                                     Copy Review URL

                                          Apr 03, 2019                                                            Copy Review URL

                         "#1 Pay Per Call Platform...and it's not even close!"
                                                                           Want help from one of our buying
                          What do you like best?                                                                                    2
                                                                        advisors to help you nd the right
                          The user experience and user interface of Ringba are head and shoulders above any other SAAS
Zack B                    platform in the pay per call space. Dark mode solution   for eyes.
                                                                        is easy on the yourReporting
                                                                                             business?pulls easily and
Chief Operating O cer                                                                                         Ex.
                          actually makes sense, unlike other platforms where exporting data, or merely checking   real2time
Marketing and Advertising stats can be a multi-step process.
Small-Business             Support is as close to real-time as you can ask--emails are answered and/ or calls are returned
(11-50 employees)
        Case 2:19-cv-08481-PSG-PLA            Document
                      quickly, and I can even reach        1-2SkypeFiled
                                                    my rep on            09/30/19
                                                                    routinely--he's       Page
                                                                                    able to make30 of 35 Page
                                                                                                adjustments within
                      minutes if needed.              ID  #:46
Validated Reviewer
Review Source              Finally, the simplicity in offer set-up and payout settings is the best. Campaigns can be set up in
                           minutes, with publishers getting info shortly thereafter; we routinely start generating revenue the

                                                                        Show More

                   Jun 13, 2018                                                                                 Copy Review URL

                                            Jun 13, 2018                                                        Copy Review URL

                            "Intuitive, robust and cost effective"
                            What do you like best?
                            Keyword tracking and number pools. I can manage and direct my call ow however I wish. Pulling
Talha R                     reports and statistic is quick and easy. I like being able to add multiple tracking number for a
Graphic Designer            single campaign.
Graphic Design
                            What do you dislike?
Validated Reviewer
                            I haven’t run into a single problem using Ringba singed I signed up. Maybe the ability to
                            customize the command center with my own widgets but that’s more of a personal preference.
Veri ed Current User
Review Source               Recommendations to others considering the product:
                            Ringba is a total changer when it comes to the call tracking. Totally risk free to try out. Run one
                            campaign and you’ll be hooked
                                                                        Show More

                   May 18, 2018                                                                                 Copy Review URL

                                            May 18, 2018                                                        Copy Review URL

                            "Great Call Tracking Platform"
                            What do you like best?
                            Affordable and reliable. Ability to track and understand multiple lead sources. I love all the caller
Mr B                        data I get automatically and how is it is to track ppc keywords for my call campaigns. I like being
Sr. UI Developer            able to manage all of my campaigns and buyers from one dashboard. Their support is also top
Computer Software           notch and help me out with anything I need.
Small-Business
(11-50 employees)           What do you dislike?
                            I have nothing to complain about at the moment.
Validated Reviewer
                            Recommendations to others considering the product:
Veri ed Current User
                            Signup for their free trial and give them a try. You’ll get hooked like I was! It has already saved me
Review Source
                            so
                                                                        Show More

                   Feb 21, 2018                                                                                 Copy Review URL

                                            Feb 21, 2018                                                        Copy Review URL

                            "Easy to setup and excellent support"
                                                                           Want help from one of our buying
                            What do you like best?                                                                                   2
                                                                          advisors to help you nd the right
                            If you're running a campaign and you need to track all your calls, record them, create call ows
Raj K                                                                     solution for your business?
                            and manage phone numbers, you need Ringba. Excellent prices, super clean interface and you
Works                                                                                                             Ex.
                            can give access to your client to view reports. Support team is very helpful if you need   2
                                                                                                                     anything
Design                      too
Small-Business              What do you dislike?
(2-10 employees)
        Case 2:19-cv-08481-PSG-PLA            Document
                       I cannot think of anything I dislike at1-2   Filed 09/30/19
                                                              the moment...                   Page 31 of 35 Page
                                                         ID #:47
Validated Reviewer          What problems are you solving with the product? What bene ts have you realized?
Veri ed Current User        I am using Ringba to run ppc campaigns for clients who need phone calls and it has become my
Review Source               favourite tool for running my business. It used to be very di cult to prove the ROI and get new

                                                                       Show More

                   May 25, 2018                                                                              Copy Review URL

                                           May 25, 2018                                                      Copy Review URL

                            "Very exible solution with awesome support"
                            What do you like best?
                            I like how easy it is to use their api and connect to my other tools. It always has amazing
Gaurav D                    reporting features and analytics and the best support i’ve worked with. I like how much control I
Owner                       have over my call ow with the custom IVR builder.
Computer Software
                            What do you dislike?
                            There is no such cons those I found. I should have started using it sooner!
Validated Reviewer
Veri ed Current User        Recommendations to others considering the product:
Review Source               Now that we’re using Ringba, it has given us control over everything related to our call tra c
                            along with reporting and analytics that actually make sense. Their pricing beat any other quotes
                            that we received and their dashboard is extremely easy to navigate and customize to exactly
                                                                       Show More

                   Sep 23, 2018                                                                              Copy Review URL

                                          Sep 23, 2018                                                       Copy Review URL

                           "Call Tracking Analytics at it's Best"
                          What do you like best?
                          Being a marketing and brand development agency, we need more than just inbound call
Asfand Y                  demographics to create an effective marketing plan. We needed a Call Tracking and Analytics
Regional Sales Cordinator software that could also give us keyword data from organic searches without blowing up our
Banking                   budget. Thankfully, we found Call Tracking and Analytics Software, and it has been the perfect
Enterprise                solution that checked everything on our priority list. The pricing is also great because it bundles a
(10,001+ employees)       bunch of useful services into one package. I would de nitely recommend this software to anyone
                          who is in need of a real-time call tracking software that also has key features that makes it
Validated Reviewer        possible for analyzing data tied to SEO and other online marketing operations. One thing that
Review Source             clearly stands out when using the software is that how e ciently it houses multiple features under
                          one banner. Normally, tracking and analytics combo softwares are badly optimized in graphics

                                                                      Show More

                   Sep 21, 2018                                                                              Copy Review URL

                                       Sep 21, 2018                                                          Copy Review URL

                        "Makes Call Tracking Perfect!"
                                                                          Want help from one of our buying
                        What do you like best?                                                                                    2
                                                                           advisors to help you nd the right
                        So far, the experience with Call Tracking and Analytics has been nothing short of amazing. When I
Hatib L                                                                    solution for your business?
                          rst started to manage inbound call tracking, it was easier to do by myself at rst, but when the tra c
Mechanical Designer                                                                                               Ex. I2really
                        increased, I was falling behind big time! Thank you for stepping in making everything perfect.
Construction            like the way their customer support team show the patience to take everything into account about
Mid-Market              what I want with the system. And they did a great job at facilitating it. Another point that made me
(51-200 employees)
      Case 2:19-cv-08481-PSG-PLA
                 choose them is the bang perDocument
                                               buck that I 1-2    Filed
                                                           get when       09/30/19
                                                                    I invest             PageI get
                                                                             in such a service.  32 all
                                                                                                      of the
                                                                                                          35functionalities
                                                                                                               Page
                                                     ID  #:48
                 that other service providers charge for double the price so what’s not to like?! In essence, it has been
Validated Reviewer
                        a very pleasant experience, and the support team is present 24/7 in case I run into any problems with
Review Source           the system. Keep up the good work guys, and thank you for genuinely making an effort to put us, the
                        customers, rst on your priority list!

                                                                     Show More

                   Jun 04, 2018                                                                                Copy Review URL

                                            Jun 04, 2018                                                       Copy Review URL


    UF                       "Excellent technology. Excellent support. "
                     What do you like best?
                     Firstly their technology. I've saved a lot of headaches and have opened a ton of opportunities by
User in Fund-Raising using Ringba. Their real-time reporting and called data has allowed me to improve performance
Small-Business       many times over. This has never happened with any other platform I've used in the past.
(11-50 employees)
                     Secondly, their team. They are amazing; whether you speak to someone in sales or support,
                     they're always there to help and really help by taking the time to ensure that what you need is
Validated Reviewer   covered. I work with Melissa and she's always so responsive. Unlike other companies where
Veri ed Current User when you sign up, your sales manager disappears. This is never the case with Ringba. You will
Review Source        notice that their sale team is just different. If Melissa is on a call or doing a demo with someone
                     else, she'll actually send you a message or email letting you know that she's on a call and that
                     she's sorry to have missed you but will get back to you ASAP. If it's urgent, and sometimes when

                                                                        Show More

                   Jun 01, 2018                                                                                Copy Review URL

                                            Jun 01, 2018                                                       Copy Review URL


      A                     "By far the most current feature sets available"
                            What do you like best?
                            I think the attribution data coming from their number pool technology is best in class. I can get
Administrator               very granular when looking at media buying. Their platform is also really fast; I can pull up years
Small-Business              worth of data for custom reports in less than a couple of seconds. I also really love their intuitive
(2-10 employees)
                            IVR platform. But what I appreciate most are the people. Their sales support is by far better than I
                            have experienced. Ringba has helped me make more money while highlighting issues I was able
Validated Reviewer
                            to resolve with my partners.
Veri ed Current User
Review Source               What do you dislike?
                            There is not much negative feedback I can offer, but it would be nice to see an ability to
                            customize the color scheme of the interface.

                                                                       Show More

                   Apr 10, 2018                                                                                Copy Review URL

                                       Apr 10, 2018                                                            Copy Review URL

                        "Best Call Tracker I’ve Used"
                                                                          Want help from one of our buying
                        What do you like best?                            advisors to help you nd the right                         2

                        Best Call Tracker I’ve Used                       solution for your business?
Tanmay L
Founder                                                                                                           Ex. 2
                        What do you like:
Arts and Crafts
Small-Business          I like how simple the dashboard is. It is very easy to navigate around the interface and nd the
(2-10 employees)
      Case 2:19-cv-08481-PSG-PLA                    Document 1-2          Filed 09/30/19         Page 33 of 35 Page
                        exact data I’m looking for. Call recordings are crystal clear and are great for quality assurance.
                                                              ID #:49
Validated Reviewer
Review Source           I can see exactly where I am getting calls and conversions from. Plus their support team is top

                           t h    d   ll h l f l I l       ll l   th d        dd     IVR b ild
                                                                      Show More

                   Jul 20, 2018                                                                                Copy Review URL

                                                 Jul 20, 2018                                                  Copy Review URL

                                  "Best Call Tracking Platform Available on the
                                  Market"
                               What do you like best?
Syed Farid A
                               I explored a few different call tracking platforms before deciding on Ringba. I fell in love right
Co-Founder, Operations Manager
                               after signing up for a free trial. The dashboard is easy to navigate and setting up call ows
Apparel & Fashion              for routing my call tra c is super easy.
Small-Business
(2-10 employees)                  What do you dislike?
                                  I wish I could use SMS functionality but they are a growing platform and I expect they’ll be
Validated Reviewer                adding it in the future.
Veri ed Current User
Review Source                     What problems are you solving with the product? What bene ts have you realized?
                                  I run digital marketing campaigns and needed a simple and feature-rich solution for
                                  managing call ow to agents salespeople and other partners Ringba provided everything I
                                                                           Show More


                                                       1   2 Next › Last »




Ringba Features
Local Phone Numbers
Toll-Free Numbers
Port Existing Numbers
Visitor & Keyword Tracking
Dynamic Number Insertion
Multi-Channel Call Attribution


See all Ringba Features




Ringba User Ratings
                                                                           Want help from one of our buying
                                                                         Ease of Use                                                2
                                                                           advisors to help you nd the right
                                                                           solution
                                                                          Average: 8.9* for your business?
                                              9.8                                                                  Ex. 2
       Case 2:19-cv-08481-PSG-PLA                   Document 1-2 Filed 09/30/19       Page 34 of 35 Page
                                                               Quality of Support
                                                         ID #:50
                                                                    Average: 9.0*
                                       9.9




                                                                  Ease of Setup
                                                                    Average: 8.8*
                                             9.9




 Compare Ringba to similar products
                                                                                                  * Inbound Call Tracking Category




                                                   Do you work for Ringba?

                                                     UPDATE THIS PROFILE




Ringba Comparisons
Ringba Comparisons



                                                            VS.


                           Ringba                                                   CallRail




                                                            VS.


                           Ringba                                                   Invoca


Compare Ringba ratings to similar products


                                                                     Want help from one of our buying
                                                                     advisors to help you nd the right                               2

                                                                     solution for your business?
                                                                                                   Ex. 2
    Ringba Categories on G2
          Case 2:19-cv-08481-PSG-PLA            Document 1-2       Filed 09/30/19   Page 35 of 35 Page
    Inbound Call Tracking Software                   ID #:51




    Top Rated Ringba Alternatives
                       CallRail

                       4.6 out of 5
                       (565)



                       CallTrackingMetrics

                       4.5 out of 5
                       (436)


    See all Ringba Alternatives




     G2                               Top Categories             Company                   Policies

                                        © 2019 G2 Crowd, Inc. All rights reserved




<




                                                                    Want help from one of our buying
                                                                    advisors to help you nd the right     2

                                                                    solution for your business?
                                                                                                  Ex. 2
